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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DISTRICT



UNITED STATES OF AMERICA
                                               No. 15 CR 314
     v.                                        Hon. Amy J. St. Eve

DANIEL P. SOSO




                             PROTECTIVE ORDER

     Upon the government’s agreed motion for a protective order, it

is hereby ORDERED as follows:

     1.      All materials produced by the government in preparation

for, or in connection with, any stage of the proceedings in this case,

including but not limited to: applications, affidavits, ten-day

reports and court orders for electronic surveillance; recordings,

transcripts and agent logs of intercepted conversations; grand jury

transcripts; agency reports; witness statements; memoranda of

interview;    financial    records;    written     correspondence      and      any

documents and tangible objects produced by the government, shall

remain the property of the United States. Upon conclusion of the trial

and any appeals of this case or the earlier resolution of charges

against the defendants, all such materials and all copies made thereof

shall be destroyed. All copies withheld by the defense by express

order of Court shall be preserved only so long as is necessary for

further proceedings related to this cause, after which they shall
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be returned to the United States or destroyed. The Court may require

a certification as to the disposition of any such materials retained.

     2.     All materials provided by the United States may be utilized

by the defendant and his counsel solely in connection with the defense

of this case and for no other purpose and in connection with no other

proceeding.    The materials and any of their contents shall not be

disclosed either directly or indirectly to any person or entity other

than the defendant, defendant’s counsel, and persons assisting in

the defense, or such other persons as to whom the Court may authorize

disclosure. Any notes or records of any kind that defense counsel

or the defendant may make relating to the contents of materials

provided by the government shall not be disclosed to anyone other

than defendant’s counsel, and persons employed to assist the defense,

or such other person as to whom the Court may authorize disclosure,

and all such notes and records shall not be disclosed except as

provided by this Order.

     3.     The materials shall not be copied or reproduced except so

as to provide copies of the material for the use by each defense lawyer

and the defendant and such persons as are employed by them to assist

in the defense and such copies and reproductions shall be treated

in the same manner as the original matter.

     4.     The restrictions set forth in this order do not apply to

documents that are public record, including but not limited to, trial
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transcripts, documents that have been received in evidence at other

trials, or documents that are otherwise in the public domain.

     5.    Intentional violation of this Order is punishable as a

contempt, and may result in the imposition of civil and criminal

sanctions. However, nothing contained in this protective order shall

preclude any party from applying to the Court for further relief or

for modification of any provision hereof.

     6.    Upon receiving this Order, defense counsel shall forthwith

inform their client of the contents of the Order, provide them with

a copy of the Order, and ensure themselves that their clients fully

understand the seriousness of any breaches of this Order.



                                           ENTER:




                                           AMY J. ST. EVE
                                           United States District Judge



Date: June 17, 2015




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